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         From: "Mesires, George R."               @faegredrinker.com>
         Date: October 13, 2020 at 6:58:59 PM EDT
         To:
         Subject: George Mesires contact information


          John Paul:

         Thank you for speaking with me tonight. As I indicated, I am a
         lawyer for Hunter Biden and I appreciate you reviewing your records
         on this matter. Thank you.

         George

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